      Case 4:22-cr-00088-WTM-CLR Document 1 Filed 07/05/22 Page 1 of 3
                                                                                     FILED
                                                                         John E. Triplett, Clerk of Court
                                                                           United States District Court

                                                                       By jburrell at 9:43 am, Jul 05, 2022


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA                  )   INFORMATION NO.        4:22cr-088
                                          )
              v.                          )   18 U.S.C. § 287
                                          )   False, Fictitious, and Fraudulent
DAVID ANDEREGG                            )   Claims
                                          )


THE UNITED STATES ATTORNEY CHARGES THAT:

                                    COUNT ONE
                     False, Fictitious, and Fraudulent Claims
                                   18 U.S.C. § 287

      At all times relevant to this Information:

      1.     Defendant DAVID ANDEREGG was a School Certifying Officer, store

manager, and instructor of a scuba school and retail store operating as Scooba Shack

in Richmond Hill and Savannah, Georgia, within the Southern District of Georgia.

      2.     The United States Department of Veterans Affairs (“VA”) was a

department of the United States that provided education, health, and other benefits

to veterans of the United States Armed Forces.

      3.     The Post-9/11 GI Bill was a VA education benefit program that paid for

tuition, housing, and other costs for veterans who met certain eligibility

requirements. Under the Post-9/11 GI Bill, tuition benefits were paid directly to VA-

approved educational institutions, and housing and other costs were paid directly to

veterans enrolled in VA-approved courses of study.

      4.     Educational institutions seeking VA approval to participate in the Post-

9/11 GI Bill program had to apply to the VA and agree to comply with program rules.
      Case 4:22-cr-00088-WTM-CLR Document 1 Filed 07/05/22 Page 2 of 3




Among other things, the institutions had to agree to maintain positive attendance

records for enrolled veterans, promptly notify the VA of changes to veteran student

enrollment, and maintain compliance with the “85-15” rule, pursuant to which

educational institutions had to charge the same tuition rate to veteran students

receiving VA benefits and non-veteran students, and no more than 85% of the

enrollees in an approved course could be VA funded. Institutions also had to submit

proposed course catalogs for approval.

      5.     On or about May 5, 2018, Scooba Shack applied to the VA for approval

to provide certain courses of study to veterans through the Post-9/11 GI Bill.

      6.     On or about July 23, 2018, Scooba Shack received VA approval to

provide eight courses of study. Thereafter, Scooba Shack billed the VA between

approximately $2,488 and $20,511 per veteran student enrollee for each course.

      7.     From in or around June 2021 to in or around November 2021, in Bryan

County, within the Southern District of Georgia, and elsewhere, the defendant,

                               DAVID ANDEREGG,

aided and abetted by others, knowingly made and presented and caused to be made

and presented to the VA a claim upon and against the United States, that is, a claim

for payment for scuba courses for a veteran student, knowing that Scooba Shack was

not in compliance with the 85-15 rule and knowing that the claim was false, fictitious,

and fraudulent in that the claim falsely represented the hours of instruction received

by the student and dates of attendance and completion.

     All in violation of Title 18, United States Code, Sections 287 & 2.




                                          2
     Case 4:22-cr-00088-WTM-CLR Document 1 Filed 07/05/22 Page 3 of 3




~
David H. Estes
United States Attorney
                                        LORINDA I. LARYEA
                                        Acting Chief, Fraud Section
                                        U.S. Department of Justice




Patricia G. Rhodes                      Michael P. McCarthy
Assistant United States Attorney        Trial Attorney, DOJ Fraud Section
Chief, Criminal Division



Chris Howard
Assistant United States Attorney
*Lead Counsel




                                    3
